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                                                                        FILED: April 12, 2023


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                          ___________________

                                                No. 22-1721
                                         (1:19-cv-00272-LCB-LPA)
                                           ___________________

        MAXWELL KADEL; JASON FLECK; CONNOR THONEN-FLECK; JULIA
        MCKEOWN; MICHAEL D. BUNTING, JR.; C.B., by his next friends and
        parents; SAM SILVAINE; DANA CARAWAY

                       Plaintiffs - Appellees

        v.

        DALE FOLWELL, in his official capacity as State Treasurer of North Carolina;
        EXECUTIVE ADMINISTRATOR OF THE NORTH CAROLINA STATE
        HEALTH PLAN FOR TEACHERS AND STATE EMPLOYEES

                       Defendants - Appellants

         and

        NORTH CAROLINA STATE HEALTH PLAN FOR TEACHERS AND STATE
        EMPLOYEES; STATE OF NORTH CAROLINA DEPARTMENT OF PUBLIC
        SAFETY

                       Defendants

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        CONSTITUTIONAL LAW PROFESSORS

                     Amicus Supporting Appellant

        NEW YORK; CALIFORNIA; COLORADO; DELAWARE; HAWAII;
        ILLINOIS; MAINE; MARYLAND; MASSACHUSETTS; MINNESOTA;
        NEVADA; NEW JERSEY; NEW MEXICO; OREGON; RHODE ISLAND;
        VERMONT; WASHINGTON; DISTRICT OF COLUMBIA

                     Amici Supporting Appellee

                                      ___________________

                                           ORDER
                                      ___________________

              Upon a sua sponte poll of the court, a majority of judges in regular active

        service and not disqualified voted to rehear this case en banc.

              IT IS ORDERED that rehearing en banc is granted.

              The parties shall file 16 additional paper copies of their briefs and appendices

        previously filed in this case within 10 days.



                                               For the Court

                                               /s/ Patricia S. Connor, Clerk
